Case 1:03-md-01570-GBD-SN Document 9250-20 Filed 07/31/23 Page 1 of 2




                             EXHIBIT 21
Case 1:03-md-01570-GBD-SN Document 9250-20 Filed 07/31/23 Page 2 of 2



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                                     UNCLASSIFJP
                                      Department of Defense
                 Office for the Administrative Review of the Detention of Enemy
                     Combatants at US Naval Base Guantanamo Bay, Cuba
                                                                                     28 June 2005
 TO:             ADEL HUSSEIN,HASSAN
 SUBJECT:        UNCLASSIFIED SUMMARY OF EVIDENCE FOR ADMINISTRATIVE
                 REVIEW BOARD IN THE CASE OF ADEL HUSSEIN,HASSAN
 1. An Administrative Review Board will be convened to review your case to determine if your
 continued detention is necessary.

 2. The Administrative Review Board will conduct a comprehensive review ofall reasonably
 available and relevant information regarding your case. At the conclusion of this review the
 Board will make a recommendation to:(1)release you to your home state;(2)transfer you to
 your home state, with conditions agreed upon by the United States and your home state; or(3)
 continue your detention under United States control.

 3. The following primary factors favor continued detention:

    a. Commitment

       1. The detainee related he joined the Muslim Brotherhood in Sudan during the early
 1980's. He stated he was a student in school and his friends joined the group,so he did as well.

         2. The detainee was a member ofthe Sudanese Muslim Brotherhood until 1986.

         3. The detainee took a teachingjob with the Hira Institute in 1986 where he worked until
 1999.

      4. The detainee worked for the Hira Institute as a teacher at the Jela.n›- Refugee Camp.
 The Hira Institute is run by an organiwition named Lajnat Al-Dewa al Islamia(LDI).

       5. Lajnat Al-Daawa Al-Islamiya(LDI)is a non-governmental organization that operates
 in Afghanistan and may be affiliated with Usama Bin Laden and al Qaida operations.

       6. In 1996 the detainee received a promotion and moved from Hira Institute to the LDI
 office in Peshawar,Pakistan. In 1997 the detainee was promoted again to the head of the Public
 Relations Division of LDI in Peshawar,Pakistan.

      7. After being laid offfrom LDI in 1999, the detainee was hired as the Director of the
 World Assembly of Muslim Youth(WAMY)Hospital in Afghanistan.

        8. WAMY is a non-government organization operating in Afghanistan that may be
 affiliated with Usama Bin Ladin and al Qaida operations.
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                                                                                    Page 1 of3




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